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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: NATIONAL FOOTBALL LEAGUE                          :              No. 2:12-md-02323-AB
 PLAYERS’ CONCUSSION INJURY                               :
 LITIGATION                                               :                       MDL No. 2323
                                                          :
                                                          :                 Hon. Anita B. Brody
 THIS DOCUMENT RELATES TO:                                :
                                                          :
 ALL ACTIONS                                              :



                   DECLARATION OF ORRAN L. BROWN, SR.

I, ORRAN L. BROWN, SR., hereby declare and state as follows:

       1.      My name is Orran L. Brown, Sr. I am the Chairman and a founding partner of

BrownGreer PLC, located at 250 Rocketts Way, Richmond, Virginia 23231. I have personal

knowledge or information of the facts set forth in this Declaration.

       2.      In connection with the class action settlement in this case, the Court appointed

BrownGreer as the Claims Administrator under the Class Action Settlement Agreement

(“Settlement Agreement”) approved by this Court on April 22, 2015. As the Claims

Administrator, BrownGreer receives and reviews all Registration Forms under Article IV of the

Settlement Agreement and Claim Packages seeking Monetary Awards under Article VI of the

Settlement Agreement. BrownGreer also issues all Notices of Monetary Awards under Article

IX of the Settlement Agreement and facilitates the disbursement of payments under Article

XXIII of the Settlement Agreement.

            3. I have reviewed BrownGreer’s records. As of today, October 4, 2017, a total of

20,367 registrations have been received, including 17,142 from Retired NFL Football Players and

their Representatives; 104 Notices of Monetary Awards have been issued to Class Members,
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representing $154,103,567 in payments that have been or will be made; with $67,802,846 in

payments already made.




I, Orran L. Brown, Sr., declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

foregoing is true and correct. Executed on this 4th day of October, 2017.




                                           Orran L. Brown, Sr.




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